           Case 1:09-cv-00430-AWI-EPG Document 406 Filed 04/24/17 Page 1 of 2


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 5                                UNITED STATES DISTRICT COURT
 6                              EASTERN DISTRICT OF CALIFORNIA
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 8   GERALD CARLIN, JOHN RAHM, PAUL                      CASE NO. 1:09-CV-00430 AWI EPG
     ROZWADOWSKI and DIANA WOLFE,
 9
     individually and on behalf of themselves and        ORDER ON PLAINTIFFS’ REQUEST
                                                         TO SEAL DOCUMENTS AND FILE
10   all others similarly situated,                      REDACTED VERSIONS
11                                 Plaintiffs,           (Doc. No. 400)
12          v.
13
     DAIRYAMERICA, INC., and
14   CALIFORNIA DAIRIES, INC.,

15                                 Defendants.

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18          This matter comes before the Court on the Plaintiffs’ Request to Seal Documents and File

19   Redacted Versions (“Request”) pursuant to Civil Local Rules 140 and 141. Upon consideration

20   of the Request, the papers submitted in support thereto, and good cause appearing, the Request

21   will be granted.

22                                                ORDER

23          Accordingly, IT IS HEREBY ORDERED that:

24          1. Plaintiffs are permitted to file the redacted versions of Plaintiffs’ Reply Memorandum in

25               Support of Motion For Leave To File Fourth Amended Consolidated Class Action

26               Complaint (“Reply Memorandum”) and Exhibit A appended thereto, on the public docket,

27               and Plaintiffs will email the unredacted versions of the Reply Memorandum and Exhibit A

28               to ApprovedSealed@caed.uscourts.gov for filing under seal.
          Case 1:09-cv-00430-AWI-EPG Document 406 Filed 04/24/17 Page 2 of 2


 1         2. Only the parties’ counsel of record, the Court and its staff shall have access to the
 2             unredacted documents.
 3
     IT IS SO ORDERED.
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 5   Dated: April 21, 2017
                                                 SENIOR DISTRICT JUDGE
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